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VIA ECF
August 29, 2022

Honorable Joel H. Slomsky
13614 U.S. Courthouse
601 Market Street
Philadelphia, PA 19106

               Re: Perrong v. John Doe Corp., et al., Case No. 2:21-cv-04185-JHS
                   Unopposed Request to Reschedule Hearing

Dear Honorable Judge Slomsky:

       Due to previously scheduled travel plans, Plaintiff’s counsel respectfully requests that the
Court reschedule the hearing on Defendant The Lake Law Firm’s Motion to Dismiss (ECF No.
20) scheduled for September 14, 2022 at 2:30 p.m. (ECF No. 24).

       Plaintiff conferred with Defendant, and Defendant does not oppose the request to
reschedule the hearing and has indicated its availability on October 3, 2022, if the Court is
amenable.

       Plaintiff’s request is made in good faith and not for purposes of delay.

                                                      Sincerely,
                                                      s/ Avi R. Kaufman
                                                      AVI R. KAUFMAN, ESQ.
